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17                              UNITED STATES DISTRICT COURT
18
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
                                        )
21    WHATSAPP LLC and                  )         Case No. 4:19-cv-07123-PJH
22    META PLATFORMS, INC., a Delaware  )
      corporation,                      )
23                                      )         REPLY MEMORANDUM OF POINTS
                      Plaintiffs,       )         AND AUTHORITIES IN SUPPORT OF
24                                      )         PLAINTIFFS’ MOTION FOR PARTIAL
             v.                         )         SUMMARY JUDGMENT
25                                      )
26    NSO GROUP TECHNOLOGIES LIMITED )              Date: November 7, 2024
      and Q CYBER TECHNOLOGIES LIMITED, )           Time: 1:30 p.m.
27                                      )           Ctrm: 3
                      Defendants.       )           Judge: Hon. Phyllis J. Hamilton
28                                      )           Action Filed: October 29, 2019
                                       [REDACTED VERSION]
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 1          There is no genuine dispute regarding NSO’s liability under the CFAA and CDAFA, and for
 2   contractual breaches of WhatsApp’s Terms. NSO admits that
 3                                                                               . NSO admits
 4

 5                                                                                       . NSO admits that,
 6

 7                                                          NSO admits
 8

 9                                NSO admits
10

11                                      These facts are undisputed and dispositive. The Court has already
12   ruled that they suffice to establish liability. NSO is liable as a matter of law.
13          In its opposition, NSO raises no genuine dispute regarding the facts that establish its liability.
14   Instead, NSO asserts legal arguments unsupported by evidence and contrary to controlling law.
15   Moreover, for the reasons presented in Plaintiffs’ Motion for Sanctions, Dkt. No. 406, NSO should
16   not be allowed to oppose summary judgment via self-serving declarations or a purported lack of
17   evidence when it has withheld the underlying evidence in violation of the Court’s orders.
18                                           LEGAL STANDARD
19          Because Plaintiffs have carried their “burden of production” to show that there is no genuine
20   dispute as to NSO’s liability, summary judgment must be granted if NSO “fails to produce enough
21   evidence to create a genuine issue of material fact.” Nissan Fire & Marine Ins. Co. v. Fritz Cos.,
22   210 F.3d 1099, 1103 (9th Cir. 2000) (citations omitted).
23                                                ARGUMENT
24   I. THE COURT HAS PERSONAL JURISDICTION OVER NSO
25          The undisputed evidence cited in Plaintiffs’ Motion establishes jurisdiction over NSO for the
26   reasons explained in Plaintiffs’ opposition, Dkt. No. 422, to NSO’s cross-motion, Dkt. No. 397. If
27   NSO is permitted to incorporate its personal-jurisdiction arguments by reference, the Court should
28   also permit Plaintiffs to do the same. In any event, the Court can reach the merits before resolving
                                                          1
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 1   personal jurisdiction. See Wages v. I.R.S., 915 F.2d 1230, 1235 (9th Cir. 1990).
 2   II. NSO IS LIABLE ON PLAINTIFFS’ BREACH OF CONTRACT CLAIM
 3           A. NSO Agreed to the Terms
 4           NSO contends that the “evidence is not sufficient to prove NSO agreed to the WhatsApp
 5   [Terms]” because there is supposedly “no evidence” NSO had actual knowledge of the Terms. Opp.
 6   3. That argument is contrary to the undisputed facts and foreclosed by controlling law. NSO’s
 7   documents and testimony show that
 8            . Moreover, the legal sufficiency of “clicking” to manifest consent is well established.
 9           Plaintiffs have carried their burden of producing undisputed facts sufficient to show that users
10   must accept the Terms to create a WhatsApp account, and that NSO agreed to the Terms accordingly.
11   Mot. 6-8. After downloading and opening the Official Client, “[t]he welcome screen includes links
12   to the terms of service and the privacy policy,” and “[t]he user is then given the opportunity to agree
13   to the terms of service[] and continue with the registration flow.” Ex. 2 (Lee Dep.) at 174:4-13. At
14   that point in the account-creation process, “in order to proceed with the registration flow, you have
15   to click a button . . . to demonstrate agreement of the terms of service.” Id. at 180:4-12. Only “[i]f
16   the user chooses to agree to the terms of service and continue” would they be able to register a phone
17   number and create an account. Id. at 174:4-21.1 NSO admits
18                               , Ex. 8 (Eshkar Dep.) at 70:16-72:25,
19                                                          , Dkt No. 401-3 (Andre Decl.) ¶¶ 3-8, Ex. A. 2
20           These undisputed facts suffice to bind a user to the Terms under controlling case law. See
21

22   1
       Plaintiffs can rely on Jonathan Lee’s Rule 30(b)(6) testimony at summary judgment. See Plumley
     v. S. Container, Inc., 2001 WL 1188469, at *4 (D. Me. Oct. 9, 2001), aff’d, 303 F.3d 364 (1st Cir.
23   2002). Lee testified to “the company’s knowledge,” Persian Gulf Inc. v. BP W. Coast Prods. LLC,
     632 F. Supp. 3d 1108, 1127-28 (S.D. Cal. 2022), which Plaintiffs “will be able to prove through
24   admissible evidence” at trial, if necessary. Norse v. City of Santa Cruz, 629 F.3d 966, 973 (9th Cir.
     2010). If necessary, Plaintiffs request the opportunity to do so now. See Fed. R. Civ. P. 56(e).
25   2
      NSO’s suggestion that Plaintiffs needed to add Meghan Andre to their initial disclosures is
26   “unreasonable and burdensome (and rarely, if ever, done in practice).” S.F. Baykeeper v. W. Bay
     Sanitary Dist., 791 F. Supp. 2d 719, 734-35 (N.D. Cal. 2011). Plaintiffs’ experts already submitted
27   declarations verifying their reports and curing any admissibility concerns. See Dkt. Nos. 422-3,
     422-4, 422-5; Cahill v. Golden Gate Bridge, Highway & Transp. Dist., 2016 WL 1070655, at *5
28   (N.D. Cal. Mar. 18, 2016) (“subsequent verification” permits use of expert reports).
                                                          2
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 1   Berman v. Freedom Fin. Network, LLC, 30 F.4th 849, 856 (9th Cir. 2022) (contract enforceable when
 2   “users must check a box explicitly stating ‘I agree’ in order to proceed”); see also Laatz v. Zazzle,
 3   Inc., 2024 WL 377970, at *7 (N.D. Cal. Jan. 9, 2024) (“hyperlinks constitute reasonably conspicuous
 4   notice of terms” and “clicking a button such as the ‘Create Account’ button is sufficient to manifest
 5   assent”); Sellers v. JustAnswer LLC, 73 Cal. App. 5th 444, 471-72 (2021) (surveying “overall trend”
 6   that where a user is “signing up for an ongoing account,” “any textual notice [is] sufficient to bind a
 7   consumer”).3 Further, NSO’s documents show
 8                                           Compare Ex. 24 at -9594 with Ex. 11 at -827.
 9            NSO fails to produce any evidence creating any material dispute about its knowledge of the
10   Terms, which it “must” do to defeat summary judgment. Nissan Fire, 210 F.3d at 1103. There is no
11   evidence that NSO was unaware that it was agreeing to the Terms when
12

13        , see Ex. 6 (Gazneli Dep.) at 81:3-7; Ex. 17,                                            , see Ex.
14   27.5 In fact, in opposing summary judgment on the CFAA claims, NSO asserts it did agree to the
15   Terms. Opp. 10-11. NSO cannot argue inconsistent facts at summary judgment. See, e.g., SEC v.
16   Johnson, 2022 WL 423492, at *5 (C.D. Cal. Jan. 26, 2022) (“[T]he Court cannot consider any
17   inconsistent facts Defendant produces to establish a genuine dispute of material facts.”); cf. Total
18   Coverage, Inc. v. Cendant Settlement Servs. Grp., Inc., 252 F. App’x 123, 126 (9th Cir. 2007).
19            B. NSO Breached the Contract
20            Plaintiffs’ Motion showed that NSO breached numerous provisions of the Terms. Mot. 8-10.
21   NSO cannot avoid summary judgment by contorting the Terms’ plain meaning, because the contract
22   language should be given “the meaning a layperson would ordinarily attach to it.” Perez-Encinas v.
23
     3
      NSO’s cases are inapposite. See Marshall v. Hipcamp Inc., 2024 WL 2325197, at *5 (W.D. Wash.
24   May 22, 2024) (allowing users to continue using Apple or Facebook); Jackson v. Amazon.com, Inc.,
     65 F.4th 1093, 1098 (9th Cir. 2023) (addressing amended terms); Nguyen v. Barnes & Noble Inc.,
25   763 F.3d 1171, 1176 (9th Cir. 2014) (browsewrap agreement); Berman, 30 F.4th at 856-58 (same).
     4
26       Unless otherwise indicated, all emphases have been added.
     5
27     If NSO believed the appearance of the “button” created a genuine dispute, it could have obtained
     a publicly available screenshot and submitted it with its opposition. See Youssef Decl. 4-6. It did
28   not, because the appearance makes clear NSO had adequate notice it was consenting to the Terms.
                                                          3
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 1   AmerUs Life Ins. Co., 468 F. Supp. 2d 1127, 1133 (N.D. Cal. 2006) (citing Cal. Civ. Code § 1638).
 2          1. The Terms prohibit, “reverse engineer[ing]” and “decompil[ing], or extract[ing] code
 3   from [WhatsApp’s] Services.”       Ex. 11 at -827.     NSO has admitted
 4

 5              . Ex. 6 (Gazneli Dep.) at 66:2-77:2, 225:5-227:5. And although NSO argues the term
 6   “reverse-engineering” is ambiguous, Opp. 6,
 7                                                           Ex. 6 (Gazneli Dep.) at 144:10-147:9. NSO’s
 8   own documents show
 9                                                                                     . Ex. 24 at -959. NSO
10   understood that                                                                             . Id.; Ex. 6
11   (Gazneli Dep.) at 153:2-17, 231:22-25. NSO also argues that
12                                                                                . Opp. 6. But it provides
13   no evidence to substantiate that claim. To the contrary, NSO said
14

15                               Ex. 6. (Gazneli Dep.) at 66:19-71:5, 246:7-247:1.
16          2. The Terms prohibit using, “or assisting others in using,” WhatsApp (i) to “collect the
17   information of or about [WhatsApp’s] users in any impermissible or unauthorized manner,”
18   (ii) to “gain or attempt to gain unauthorized access to [WhatsApp’s] Services or systems,” or
19   (iii) in ways that “are illegal.” Ex. 11 at -827. NSO argues that it never operated Pegasus itself.
20   Opp. 7. That is false, but also not a defense, because the Terms prohibit “assist[ing] others to” breach
21   the Terms. Ex. 11 at -827; see Mot. 23-24 (citing evidence of NSO                                     ).
22   “Impermissible” and “unauthorized” are not vague, as NSO claims (Opp. 7), but require WhatsApp’s
23   or users’ permission. See Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1067-68 (9th Cir.
24   2016). NSO provides no evidence it had either. See Mot. 9-11; infra § III.A.1.
25          3. The Terms prohibit sending “viruses or other harmful code” via WhatsApp. Ex. 11 at -
26   827. NSO admits                          , but argues that “‘harmful code’ is a subjective term.” Opp.
27   7. It is not, and easily covers
28                                                                                            Ex. 6 (Gazneli
                                                          4
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 1   Dep.) at 300:16-19; 311:13-312:15; Ex. 5 (Defs.’ Supp. Resps. to Pls.’ First Interrogs.) at 11.
 2          C. Plaintiffs Did Not “Waive” Any Known Rights
 3          NSO’s waiver argument is meritless. Waiver requires an “intentional relinquishment of a
 4   known right with knowledge of its existence and the intent to relinquish it.” CBS, Inc. v. Merrick,
 5   716 F.2d 1292, 1295 (9th Cir. 1983). Selective enforcement is not a waiver. See Mahoney v. Depuy
 6   Orthopaedics, Inc., 2007 WL 3341389, at *9 (E.D. Cal. Nov. 8, 2007); Martinez v. McNabb, 2004
 7   WL 103541, at *8 (Cal. Ct. App. Jan. 23, 2004). Plaintiffs could not waive before learning of NSO’s
 8   breaches, and NSO cites no evidence they waived after. NSO’s cases concerning parties that waived
 9   after learning of a breach do not apply. Opp. 8. Moreover, NSO’s records show
10                                                                         . See Ex. 24 at -958-60; Ex. 6
11   (Gazneli Dep.) at 206:12-208:1. The non-waiver provision, see Ex. 11 at -832, also precludes a
12   waiver. See Auntie Anne’s, Inc. v. Wang, 2014 WL 11728722, at *14 (C.D. Cal. July 16, 2014).
13          D. Plaintiffs Suffered Damages
14          NSO’s breaches damaged Plaintiffs. See Mot. 11. NSO does not dispute Plaintiffs incurred
15   investigation costs, but argues that they were not foreseeable or caused by NSO. Opp. 8-9. That
16   claim is meritless. NSO knew                                                                 . Ex. 37
17   (Gazneli Dep.) at 214:12-18. That NSO exploited preexisting code does not break the “causal chain.”
18   See Creative Computing v. Getloaded.com LLC, 386 F.3d 930, 935–36 (9th Cir. 2004). NSO also
19   concedes (Opp. 9) that disgorgement “can satisfy the ‘damages’ element,” which only requires that
20   NSO “obtained a benefit they would not have otherwise obtained and profited from that benefit
21   without providing a corresponding benefit to” Plaintiffs. Artifex Software, Inc. v. Hancom, Inc., 2017
22   WL 4005508, at *4 (N.D. Cal. Sept. 12, 2017); see Mot. 11. Finally, even if there were “no
23   appreciable detriment” to WhatsApp (which there was), Plaintiffs would be entitled to nominal
24   damages. Meta Platforms, Inc. v. BrandTotal Ltd., 605 F. Supp. 3d 1218, 1258 (N.D. Cal. 2022).
25   III. NSO IS LIABLE ON PLAINTIFFS’ CFAA CLAIMS
26          A. NSO Violated § 1030(a)(2) and § 1030(a)(4) of the CFAA
27                  1. NSO Intentionally Accessed WhatsApp’s Servers and the Target Devices
28          Plaintiffs’ Motion showed that NSO intentionally accessed WhatsApp’s servers and the target
                                                          5
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 1   devices. Mot. 12-13. NSO offers two responses. Both lack merit.
 2            First, NSO claims it lacked intent because                                     (Opp. 22), but
 3   it provides no evidence that                                         . NSO admits
 4

 5               . Mot. 9. NSO points to                                                                    ,
 6   but provides no evidence that
 7                                                            . Opp. 22 (citing Akro Decl., Ex. H). NSO
 8   also points to
 9   id., but
10

11

12

13                                                NSO’s belief that its customers would obtain such
14   authorization is not a defense. See United States v. Christensen, 828 F.3d 763, 794 (9th Cir. 2015).
15            Second, NSO contends there is “no evidence NSO ‘accessed . . . target devices.’” Opp. 10.
16   That contention fails. NSO admits its
17                                                                                                   Ex. 6
18   (Gazneli Dep.) at 82:14-83:11. NSO was the principal behind                                 , and
19                              does not cut off NSO’s liability. “Numerous courts have recognized that
20   vicarious or indirect liability under section 1030(g) extends to parties who direct, encourage, or
21   induce others to commit acts that violate the statute.” Ryanair DAC v. Booking Holdings Inc., 636
22   F. Supp. 3d 490, 499 (D. Del. 2022).7 NSO admits
23

24                                                                                     and                  ,
25
     6
         Ex. 38 (Shohat Dep.) at 29:24-32:14, 180:6-185:16 (admitting
26
     7
27     NSO relies on cases where outsiders induced insiders to obtain information from computers for
     them. Opp. 10 n.13 (citing cases). United States v. Nosal (“Nosal I”), 676 F.3d 854, 863 (9th Cir.
28   2012), concluded those cases involved no CFAA violation because the insider had authorization.
                                                          6
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 1

 2                                                    Gazneli Decl. ¶ 4. In other words,
 3

 4

 5                                             Ex. 10 (Shohat Dep.) at 68:1-16. NSO
 6                                         , Ex. 6 (Gazneli Dep.) at 66:2-77:2, 226:2-227:5; NSO
 7                               , Ex. 31; NSO                                     , Ex. 38 (Shohat Dep.) at
 8   143:15-144:23; NSO
 9   Dkt. No. 1-1 at 37-38, 46-47; NSO                                                        , Ex. 8 (Eshkar
10   Dep.) at 39:15-17, 151:3-153:8; and NSO                                  , Ex. 5 (Defs.’ Supp. Resps. to
11   Pls.’ First Interrogs.) at 15-16. NSO is therefore liable for                           .
12          Moreover, NSO admits                                                                    Opp. 10.
13   That alone suffices for liability because NSO                                     through unauthorized
14                                   , 18 U.S.C. § 1030(a)(2), and also obtained the use of WhatsApp’s
15   computers through fraud, id. § 1030(a)(4). The CFAA “forecloses” any “defense” that NSO “was
16   ‘entitled to obtain’ the information . . . through another method,” such as direct access to the device.
17   Van Buren v. United States, 593 U.S. 374, 385 (2021); see Mot. 20-23; Dkt. No. 422 at 16-17.
18                  2. NSO Accessed WhatsApp Servers and the Official Client on Target Devices
19                      Without Authorization or Exceeded Any Purported Authorized Access
20          NSO’s access to WhatsApp’s servers and user devices was unauthorized because NSO
21   (i)                                                             ; (ii)
22                                        and (iii)
23                                                                     . See Mot. 13-20. NSO provides no
24   evidence creating a genuine dispute as to any one of these grounds, let alone all of them.
25                  a) The Terms of Service Did Not Authorize NSO’s Access
26          Despite NSO’s contention that there is no evidence NSO agreed to the Terms, Opp. 3, it
27   nonetheless argues that its agreement to those Terms “forecloses” any “without authorization” claim.
28   Opp. 10. NSO cannot have it both ways. If it did not agree, as NSO claims, it had no authorization.
                                                          7
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 1   But as explained above, there is no genuine dispute NSO did accept the Terms. See supra II.A.
 2          There is no inconsistency in Plaintiffs’ position that (as NSO paraphrases it) “NSO agreed to
 3   WhatsApp’s [Terms] and that NSO completely lacked authorization to use WhatsApp’s servers.”
 4   Opp. 10. The Terms only authorize NSO “to use our Services,” defined as “our apps, services,
 5   features, software, or website.” Ex. 11 at -825, -828. The Court recognized that WhatsApp users
 6   only have authorization to send messages “using the WhatsApp app,” Dkt. No. 111 at 37, and NSO’s
 7   own documents indicate NSO understood
 8                           . See Ex. 24 at -959. Even on a technological level, the authentication keys
 9   needed to access WhatsApp servers are created only on the Official Client when it is downloaded,
10   installed, and registered. Ex. 4 (Gheorghe Dep.) at 135:20-140:1. NSO admits
11                                                             . Ex. 6 (Gazneli Dep.) at 278:16-279:6.
12   WhatsApp’s servers were also designed to work only with the Official Client. Ex. 4 (Gheorghe Dep.)
13   at 279:25-280:10. NSO thus
14                                                               . Ex. 6 (Gazneli Dep.) at 279:16-282:10.
15          Thus, neither NSO nor any other user ever had any “degree[ ] of authorization” to access
16   WhatsApp’s servers themselves. Opp. 11. The Terms only authorize users to use the Official Client,
17   and the Official Client had the technological permissions necessary to access WhatsApp’s servers.
18   NSO’s argument that its
19                                                            is essentially the same argument the former
20   employee made in Nosal II that his use of a current employee’s password only violated a “limit” on
21   that employee’s authorization. See United States v. Nosal (“Nosal II”), 844 F.3d 1024, 1035-37 (9th
22   Cir. 2016). The Ninth Circuit rejected that argument as “ignor[ing] common sense and turn[ing] the
23   statute inside out,” because the current employee “had no mantle or authority to override [the
24   employer’s] authority to control access to its computers and confidential information by giving
25   permission to former employees.” Id. NSO similarly had no authority
26                                       . See Theofel v. Farey-Jones, 359 F.3d 1066, 1073-74 (9th Cir.
27   2004) (“us[ing] someone else’s password” and “claim[ing] the server ‘authorized’ his access” is the
28   “paradigm” of what the CFAA prohibits).
                                                          8
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 1          In addition, even if the Terms granted NSO some limited authorization to access WhatsApp’s
 2   servers (they did not), that authorization can be—                    see infra § III.A.2.b—revoked.
 3   Power Ventures, 844 F.3d at 1067-68 (“[A] defendant can run afoul of the CFAA when he or she has
 4   no permission to access a computer or when such permission has been revoked explicitly.”).
 5                  b) NSO Bypassed the Restrictions Built Into the Official Client
 6          The undisputed evidence demonstrates that NSO circumvented technological limitations built
 7   into the Official Client                                                . Mot. 15-17. NSO attempts
 8   to create a dispute of fact about                        by presenting Tamir Gazneli’s self-serving
 9   declaration, which claims that
10

11                              Gazneli Decl. ¶ 5. Mr. Gazneli’s declaration contradicts his own sworn
12   testimony, in his capacity as NSO’s corporate representative, that
13                                                                         Ex. 6 (Gazneli Dep.) at 159:12-
14   162:3. Mr. Gazneli’s declaration neither addresses this contradiction, nor attaches any documentary
15   evidence—such as the Pegasus code NSO was ordered to produce (which it did not)—to support his
16   new contention that NSO                                                  . Mr. Gazneli’s declaration
17   therefore cannot create a genuine dispute of fact. See Hansen v. United States, 7 F.3d 137, 138 (9th
18   Cir. 1993) (“When the nonmoving party relies only on its own affidavits to oppose summary
19   judgment, it cannot rely on conclusory allegations unsupported by factual data to create an issue of
20   material fact.”); Rainey v. Am. Forest & Paper Ass’n, 26 F. Supp. 2d 82, 94 (D.D.C. 1998) (excluding
21   affidavit at summary judgment contrary to Rule 30(b)(6) testimony); Guangzhou Yuchen Trading
22   Co. v. DBest Prods. Inc., 2023 WL 2626373, at *2 (C.D. Cal. Feb. 24, 2023) (same).
23          Even if Mr. Gazneli’s declaration were considered, it does not create any material dispute of
24   fact. NSO admits                                                         Gazneli Decl. ¶ 5, and that
25                                                                                                 . Opp.
26   14. Mr. Gazneli does not explain how
27                                             Cf. Akro. Decl., Ex. A (Palau Dep.) at 129:8-20, 131:5-23
28   (“[U]nder no circumstances” would “one of our official clients” “send something like that” and
                                                          9
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 1   “[t]his is obviously a malicious client”). Taken as true, NSO either
 2

 3             , Ex. 6 (Gazneli Dep.) at 159:12-162:3, or
 4                                                                                , see Youssef Decl. ¶¶ 6-13.
 5   Either way, NSO accessed WhatsApp servers by deceit,
 6                                         . Theofel, 359 F.3d at 1072-74 (access is unauthorized if defendant
 7   knew “plaintiff was mistaken as to the nature and quality of the invasion intended” (citation omitted)).
 8                  c) NSO
 9          Even if NSO could credibly argue that its access was authorized at some point, Plaintiffs
10   revoked that authorization no later than when this action was filed. NSO
11

12                                                     Contrary to NSO (Opp. 14-15), that revocation was
13   “categorical,” “explicit,” “unequivocal,” and “particularized.”
14          Plaintiffs’ security updates                                                         . NSO’s own
15   records show that the 2018 security updates
16

17                     . Ex. 6 (Gazneli Dep.) at 254:2-23, 256:16-25, 258:1-16. Similarly, NSO’s own
18   records show that the 2019 updates
19                                                                Id. at 262:3-265:4. Those changes are no less
20   categorical simply because they did not interfere with WhatsApp’s billions of users’ ability to use
21   the Official Client to “send ordinary WhatsApp messages,” Opp. 14, and did not anticipate NSO’s
22   “technological gamesmanship.” See Power Ventures, 844 F.3d at 1067.
23          Plaintiffs’ revocation was also explicit, unequivocal, and particularized. NSO does not
24   dispute that
25

26   Mot. 17; Opp. 15. NSO immediately understood
27                                          , Opp. 15, but that
28                                          Ex. 9; Ex. 6 (Gazneli Dep.) at 254:2-23; Ex. 25 (Vance Rep.) at
                                                          10
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 1   7-10. Plaintiffs                              in May 2019, but also disabled NSO’s known accounts
 2   and filed a lawsuit alleging violations of federal and state law, and WhatsApp’s Terms, and seeking
 3   to enjoin NSO from “[a]ccessing or attempting to access WhatsApp’s and Facebook’s service,
 4   platform, and computer systems,” and from “creating or maintaining any WhatsApp or Facebook
 5   account.” Dkt. No. 1 at 14; see Mot. 18-19. These steps are indistinguishable from the cease and
 6   desist letter and IP blocks deemed sufficient to revoke access in Power Ventures. See 844 F.3d at
 7   1067 & n.3.                                                                                      .8
 8                  d) NSO Exceeded Any Purported Authorization
 9          Even if there were a dispute of fact regarding
10         , NSO still exceeded authorized access
11                                               None of NSO’s arguments to the contrary have merit.
12          First, NSO’s argument that it did not obtain information from WhatsApp servers that it was
13   “not entitled so to obtain” (Opp. 16) fails. There is no requirement that the information only come
14   from the servers. NSO’s contention that Section 1030(e)(6) requires the information to come from
15   the same computer accessed without authorization is incorrect. Regardless, NSO does not dispute
16   that “computer” is defined to “include[ ] any data storage facility or communications facility directly
17   related to or operating in conjunction with such device,” 18 U.S.C. § 1030(e)(1), and thus includes
18   “computer networks.” Nosal II, 844 F.3d at 1032 n.2. NSO also does not dispute that WhatsApp is
19   a communications network, and the target devices are “directly related to or operating in conjunction
20   with” the servers. Mot. 22. Thus, NSO’s admission
21

22           Ex. 6 (Gazneli Dep.) at 306:12-307:15, suffices to prove NSO exceeded authorized access.
23          NSO also                                                                   . NSO claims
24                                                                                          Opp. 16. Even
25   if that were true, it is no “defense” that NSO “was ‘entitled to obtain’ the information . . . through
26

27   8
      Plaintiffs only learned of                          at Mr. Gazneli’s deposition on September 4,
28   2024. If necessary, the Court should deem the complaint amended to conform to the evidence.
                                                          11
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 1   another method.” Van Buren, 593 U.S. at 385. And NSO does not dispute
 2                                                                                                . Mot. 20-21.
 3            Second, NSO argues it                                                                             ,
 4   but that is not what the CFAA requires. Van Buren made clear that NSO must “obtain[ ] information
 5   located in particular areas of the computer—such as files, folders, or databases—that are off limits
 6   to” NSO. 593 U.S. at 396. As shown above, NSO did
 7

 8            Third, NSO argues it did not circumvent any technological limitations. NSO is wrong. NSO
 9   admits
10

11

12                                                Opp. 13-14; see Akro. Decl., Ex. A (Palau Dep.) at 129:8-
13   20, 131:5-23 (“[U]nder no circumstances” would the Official Client “send something like that” and
14   “[t]his is obviously a malicious client”). The Official Client could
15                                                                                    (Opp. 13)                 .
16            NSO also
17

18                            , infra § III.A.3. “[F]inding ‘holes in . . . programs,’ . . . amounts to obtaining
19   unauthorized access,” United States v. Phillips, 477 F.3d 215, 220 (5th Cir. 2007), not
20                                                 , as NSO claims. Opp. 17-18.
21                   3. NSO Defrauded Plaintiffs and WhatsApp Users in Violation of § 1030(a)(4)
22            Plaintiffs’ Motion established that NSO violated CFAA § 1030(a)(4). Mot. 22-23. NSO
23   argues that “intent to defraud” should be construed as requiring “an intent to deceive and cheat,” as
24   in other statutes, meaning “the intent to deprive a victim of money or property by deception.” Opp.
25   22-23 (citing United States v. Saini, 23 F.4th 1155, 1160 (9th Cir. 2022)). NSO cites no case applying
26   that standard to the CFAA. Even if it does apply, it is easily met.
27            NSO claims
28                                     Opp. 12. This argument is misleading and does not create a dispute
                                                          12
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 1   of fact. NSO knew that                                                               , see, e.g., Ex. 24
 2   at -958,
 3                                                                    (which was “an old feature” that “was
 4   not in use at the time of the attack,” Ex. 39 (Gheorghe Dep.) at 150:13-153:1). NSO also repeatedly
 5   changed the fields in which it hid code. See Ex. 25 (Vance Rep.) at 8-10 (demonstrating
 6                                                      . NSO also
 7                                 , see, e.g., Ex. 24 at -961
 8                                            Ex. 6 (Gazneli Dep.) at 236:8-237:1; see, e.g., Ex. 41 at -121
 9

10                                                               And if Mr. Gazneli were credited, NSO also
11                                                                                     Gazneli Decl. ¶ 5.
12          NSO’s reliance on Meta employee testimony that they knew Pegasus’s messages were not
13   from an Official Client once they discovered them, Opp. 13, is misplaced because it ignores that the
14   messages were hidden in obscure fields and contained encrypted code “not meant to be easily . . .
15   readable by a human.” Ex. 39 (Gheorghe Dep.) at 198:13-25. NSO also
16

17

18

19                  Youssef Decl., Ex. A at 33-34; Ex. 40 at -132
20

21          NSO’s contention that it did not intend to take “money or property” from WhatsApp or target
22   users (Opp. 22-23 & n.22) is equally meritless. The “object of the fraud” can include “the use of the
23   computer” if the value exceeds more than $5,000 in one year. 18 U.S.C. § 1030(a)(4). NSO admits
24

25                     . See Mot. 11. And Pegasus’s purpose is to “Turn Your Target’s Smartphone into
26   an Intelligence Gold Mine,” by “remotely and covertly extract[ing] all data.” Ex. 31; Mot. 22-23.
27          B. NSO Conspired with Its Clients to Use Its Technology in Violation of § 1030(b)
28          NSO is liable for conspiracy because it agreed with its customers to use Pegasus and
                                                          13
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 1   supported their use. Mot. 23-24. NSO’s response that it did not intend for its customers to violate
 2   the CFAA is meritless. NSO argues
 3                                                         Opp. 18-21. But NSO relies
 4                     Akro Decl., Ex. H ¶ 12, and provides no evidence that
 5                                 Even if they did, the customers
 6                                      and NSO does not explain how they could have installed Pegasus
 7   on user devices via WhatsApp without violating the CFAA, which has no foreign law enforcement
 8   exception. It is well established that the CFAA applies extraterritorially. See, e.g., In re Apple Inc.
 9   Device Performance Litig., 347 F. Supp. 3d 434, 448 (N.D. Cal. 2018) (citing cases). In either case,
10                                                                                                         .
11   Even if NSO’s customers were foreign sovereigns (and NSO provides no evidence they are), the act
12   of state doctrine does not apply because accessing WhatsApp’s U.S. computers is not an official act
13   that they took within their own borders. See Dkt. No. 422 at 18-20; cf. 28 U.S.C. § 1605(a)(2), (5)
14   (permitting claims against foreign sovereigns for acts in the United States). NSO claims Congress
15   did not “intend[] to criminalize all such activities by foreign governments,” Opp. 20, but in fact,
16   foreign government agents are often prosecuted under the CFAA. See Exs. 42-46.
17          C. NSO Trafficked in Password-Like Information in Violation of § 1030(a)(6)
18          Plaintiffs’ Motion demonstrates that NSO is also liable for trafficking in “password or similar
19   information.” Mot. 24-25.9 NSO’s only argument against liability is that Pegasus is not “a sequence
20   of letters, numbers, symbols or other characters.” Opp. 21. This argument ignores that § 1030(a)(6)
21   “turns on whether a user’s credentials allow him to proceed past a computer’s access gate.” Van
22   Buren, 593 U.S. at 390 n.9. NSO has admitted that
23                                                                                     Ex. 6 (Gazneli Dep.)
24   at 247:4-17. NSO also
25                                                                                          Mot. 24-25.
26
     9
27     Plaintiffs repeatedly confirmed their pursuit of a claim under § 1030(a)(6). See, e.g., Dkt. No. 163
     at 8; Dkt. No. 236 at 12; Dkt. No. 261 at 9. If necessary, Plaintiffs request leave to amend. There is
28   no prejudice given the identical claim under CDAFA § 502(c)(6). Dkt. No. 1 ¶ 61.
                                                          14
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 1          D. NSO Caused Plaintiffs a Loss of More than $5,000
 2          NSO argues that Plaintiffs’ investigation and remediation costs do not constitute “loss”
 3   because
 4                   Opp. 23-24. This argument is meritless. The Ninth Circuit has held that the “costs
 5   [of] analyzing, investigating, and responding to” a defendants’ actions constitute “loss.” Power
 6   Ventures, 844 F.3d at 1066; see 18 U.S.C. § 1030(e)(11).10 Even if “damage” were required, it
 7   encompasses “impairment . . . as when an intruder retrieves password information from a computer
 8   and the rightful computer owner must take corrective measures ‘to prevent the infiltration and
 9   gathering of confidential information.’” Multiven, Inc. v. Cisco Sys., Inc., 725 F. Supp. 2d 887, 894-
10   95 (N.D. Cal. 2010) (citing 18 U.S.C. § 1030(e)(8)). There is no genuine dispute that NSO’s actions
11   impaired the integrity of the WhatsApp program and system, and required “corrective measures ‘to
12   prevent the infiltration and gathering of confidential information.’” Id. The attendant costs are still
13   “loss” even if the exploited code was preexisting. See Creative Computing, 386 F.3d at 935-36.
14   IV. NSO IS LIABLE ON PLAINTIFFS’ CDAFA CLAIM
15          Because Plaintiffs are entitled to summary judgment on their CFAA claims, they are also
16   entitled to summary judgment on their parallel CDAFA claims. See Mot. 25.
17   V. NSO PROVIDES NO EVIDENCE SUPPORTING AN UNCLEAN HANDS DEFENSE
18          NSO misconstrues the unclean hands defense, which requires proof that Plaintiffs acted with
19   “fraud or deceit” in acquiring their claims or in a manner that renders it inequitable to assert them.
20   Ingram v. Pac. Gas & Elec. Co., 2014 WL 295829, at *7 (N.D. Cal. Jan. 27, 2014). NSO provides
21   no proof of fraud or deceit. Plaintiffs did not acquire their claims by
22                                       See Opp. 25. Nor would that render Plaintiffs’ suit inequitable.
23                                              CONCLUSION
24          For the foregoing reasons, the Court should grant summary judgment as to NSO’s liability.
25
     10
26     See also Ryanair DAC v. Booking Holdings Inc., 2024 WL 3732498, at *13 (D. Del. June 17, 2024)
     (“loss” does not require “impairment of the protected computer or loss of data”); Sylabs, Inc. v. Rose,
27   2024 WL 4312719, at *3 (N.D. Cal. Sept. 26, 2024) (same). Van Buren did not exclude investigative
     costs “that the statute specifically incorporates.” BrandTotal, 605 F. Supp. 3d at 1265. Andrews v.
28   Sirius XM Radio Inc., 932 F.3d 1253, 1262 (9th Cir. 2019), did not involve investigation costs at all.
                                                          15
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      Dated: October 18, 2024                      Respectfully Submitted,
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